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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,
                                                  NO: 2:14-CR-0168-TOR-3
 8                            Plaintiff,
                                                  ORDER GRANTING DEFENDANT’S
 9         v.                                     MOTION TO MODIFY CONDITIONS
                                                  OF RELEASE
10   MELANIE J. CHRISTOPHERSON,

11                            Defendant.

12         BEFORE THE COURT are Defendant’s Motion to Modify Conditions of

13   Release (ECF No. 822) and Motion to Expedite (ECF No. 823). The matter was

14   submitted for consideration without oral argument. The Court has reviewed the

15   motions and the file therein and is fully informed. On February 27, 2015,

16   Defendant appeared before the Court and entered a guilty plea to Conspiracy to

17   Commit Bank Fraud. At the hearing, the Court continued Defendant on the

18   previously imposed conditions of release pending her sentencing hearing set for

19   October 6, 2015. Pursuant to those conditions of release, Defendant is not

20   permitted to have contact with known felons (ECF No. 290). Defendant now


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 1   moves the Court to modify that condition of release to allow her to visit her

 2   husband, a known felon, who is currently incarcerated at the Spokane County jail

 3   but may be moved to another facility in the near future. In her motion, Defendant

 4   states the United States Probation Office does not oppose the request. The

 5   government advises the Court it opposes the request but has not filed a response

 6   indicating its formal opposition. For good cause shown, the Court will allow

 7   Defendant one visit with her husband before he is moved to a facility outside the

 8   Eastern District of Washington.

 9         ACCORDINGLY, IT IS HEREBY ORDERED:

10         1. Defendant’s Motion to Modify Conditions of Release (ECF No. 822) and

11   Motion to Expedite (ECF No. 823) are GRANTED.

12         2. Defendant’s conditions of release shall be modified to allow her one visit

13   with her husband, Dwayne Christopherson, at any detention facility located within

14   the Eastern District of Washington prior to his transfer outside the district.

15         3. Defendant shall coordinate the visit with her United States Probation

16   Officer.

17         3. All other conditions of release remain in effect.

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 1         The District Court Executive is hereby directed to enter this Order and

 2   furnish copies to counsel.

 3         DATED June 15, 2015.

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 5                                   THOMAS O. RICE
                                  United States District Judge
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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
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